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                                                                                                1
         2       UNITED STATES DISTRICT COURT
         3                    MIDDLE DISTRICT OF FLORIDA
         4                             TAMPA DIVISION
         5       ---------------------------------------------- x
         6       STEVE AARON, et al,
         7                                     Plaintiffs,           Case No.
                                                                      8:09-CV-2493
         8                 -against-
         9       THE TRUMP ORGANIZATION,            INC., a New York
                 Corporation, and DONALD J. TRUMP, an individual,
    10
                                               Defendants.
    11
                 ---------------------------------------------- x


    13
    14                     VIDEOTAPED DEPOSITION of the Defendant,
    15           THE TRUMP ORGANIZATION,            INC., by ERIC TRUMP,           taken
    16           by the Plaintiffs, held at the offices of Foley &
    17           Lardner,     90 Park Avenue, New York, New York,                  on
    18           February 9th,       2011, at 10:26 a.m., before a Notary
    19           Public of the State of New York.
        20
        21
        22       ***********************************************
        23               BARRISTER REPORTING SERVICE,               INC.
                                        120 Broadway
        24                        New York, N.Y. 10271
/   ~
    ,
~
                                        212-732-8066
        25
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                                                      2                                                       4
  1
  2   AP·PEARANCES:
                                                           1            E. Trump
  3                                                        2     Lardner for the defendants and for the
  4       CLARK & MARTINO, PA                              3     witness today. The gentleman who does
            Attomeys for Plaintiffs
  5         3407 W. Kennedy Boulevard                      4     not have a microphone is :MI. Alan
            Tampa, Florida 33609                           5     Garten. I asked you this --
  6
          BY: (NOT PRESENT)                                6          :MR. GARTEN: Assistant general
  7                                                        7     counsel.
  8       BAJO CUVA COHEN & TURKEL, PA
             Attomeys for Plaintiffs                       8          :MR. GRlFFIN: Assistant general
  9          100 N. Tampa Street                           9     counsel of The Trump Organization.
             Suite 1900
 10          Tampa, Flodda 33602
                                                          10          THE VIDEOGRAPHER: Will the
 11       BY: KENNETH B. TURKEL, ESQ.                     11     COurt reporter please administer the
 12                                                       12     oath?
          FOLEY & LARDNER
 13         Attomeys for Defendants and The               13 ERIC TR UMP,
 14
            Witness
            P.O. Box 3391
            Tampa, FIOlida 33601
                                                          14
                                                          15
                                                                   Having been fIrst duly sworn before a
                                                                   NotruyPublic of the State of New York,
                                                                                                                  Ii
 15                                                       16       was exrunined and testifIed as follows:        1
          BY: CHRISTOPHER GRIFFIN, ESQ.
 16
 17       THE TRUMP ORGANIZATION
                                                          17 EXAMINATION
                                                          18 BY:MR. TURKEL:
                                                                                                                  Ii
             725 Fifth Avenue
                                                          19 Q. Could you please state your full name?
 18
 19
             New York, New York 10022
          BY: ALAN G. GARTEN, ESQ.                        20 A. Eric Trump.                                       II
 20
 21   ALSO PRESENT:
                                                          21 Q. :MI. Trump, have you ever had your                I!
 22      SALLY BROWNE - Videographer                      22 deposition taken before?
 23             Digital Media Productions                 23 A. I have.
 24
                 xxxxx                                    24 Q. How many tinles?
 25                                                       25 A. One.

                                                      3                                                       5 .
  1                  E. Dump                             1                 E. Tmmp
  2               THE VIDEOGRAPHER: This is the          2    Q.    I run going to ask you a series of
  3          deposition of Eric Tmmp talcen in the       3    questions which you have been sworn to answer
                                                                                                                  I;
  4          case of Steve Aaron, et aI, versus The      4    under oath. If anything I ask is unc1eru' as
  5          Tmmp Organization, Inc., a New York         5    a result of the words I use, the phraseology
  6          corporation, and Donald J. Tiump, an        6    or just plain being just a confusing                Ii
  7          individual, fIled in the United States      7    question, let me know. If not, I am going to
  8          District Court, Middle District of       • 8     assume you understand the question, okay?
  9          Florida, Tampa Division.                    9    A. Yes.
 10               Today's date is Febmruy 9th,          10    Q. You need to answer audibly. The court
 11          2011. The time on the videotape            11    repOlier can't take down nonverbal conduct
 12          record is 10:26 a.m. This deposition       12    intended as an answer, such as nods of the
 13          is being held at the law fInn of Foley     13    head. It is diffIcult for her to discern
 14          & Lru'dner, LLP, 90 Pru'k Avenue, New      14    when an uh-huh is a yes or no; okay?
 15          York, New York.                            15         We ru'e going to practice now. Do you
 16               My name is Sally Browne on            16    get that?
 17          behalf of Brul'ister Reporting of 120      17    A. Yes.                                             1
 18          Broadway, New York, New York.              18    Q. There you go. Equally, if you need a              j
                                                                                                                   i
 19               Would everyone please introduce       19    break -- I don't intend to be velY long, so
 20          themselves for the record?                 20    you can budget in your mind we will probably        I;
 21               :MR. TURKEL: Ken Turkel for the       21    go for an hour and a half, two hours at the
 22          law fIrm ofBajo Cuva Cohen & Turkel        22    most, which in our world is not very long.
 23          for the plaintiffs.                        23    If you need a break we will wrap up whatever
 24               :MR. GRIFFIN: Christopher             24    question is pending and go ahead and take a
 25          Griffm from the law fIrm of Foley &        25    break.

2 (Pages 2 to 5)
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                                                          6                                                       8 "
   1                   E. Trump                                1              E. Trump                              I
   2            Also, I am going to steal the thunder          2   Q.    Alan Weissberg is the CFO?
   3       from your lawyer who would probably tell you        3   A. Yes.
   4       ifIdon't that he may object from                    4   Q. My understanding is that he also has
   5       time-to-time. Unless he instructs you not to        5   some construction expertise?                          i
   6       answer, his objection is just to preserve a         6   A. No, he does not.
   7       form objection to a question for the record         7            MR. GRIFFIN: You are confusing
   8       that we will hash out later in the case.            8       him with Mr. Weiss.
   9       Unless he tells you not to answer, go ahead         9            MR. TURKEL: Right.                       ~
  10       and answer after he objects; okay?                 10            MR. GARTEN: Andy Weiss.                      i
  11       A. Sounds great.                                   11            MR. TURKEL: My bad. I messed
  12                MR. TURKEL: Chris, did I miss             12       that up.                                          ,i
  13            any--                                         13   Q. How long has Alan Weissberg been the               :
  14                MR. GRIFFIN: You got it.                  14   CFO?
                                                                                                                     "

  15       Q. I like kind of taking that last one             15   A. A long time. I don't know number of             1
  16       from you.                                          16   years. I wouldn't know exactly.
  17            Where do you currently work?                  17   Q. A long time for me may not be a long           I:'
  18       A. I work at The Trump Organization.               18   time --                                           Ii,
  19       Q. What is your title there?                       19   A. I don't know when he started. I                I;
  20       A. I am executive vice president.                  20   couldn't answer that question.
  21       Q. Executive vice president of what?               21   Q. He predates your employment at the
  22       A. Acquisition and development.                    22   company?
  23       Q. Some of these questions I may                   23   A. He does.
  24       reference some of the other testimony that I       24   Q. Who else are the other executive vice           '"

  25       have received just to try and coalesce             25   presidents?                                       I:
  ,
                                                          7                                                        91;
   1                  E. Trump                                 1              E. Trump                               Ii
   2       things.                                             2 A. Off the top of my head, Andy Weiss               Ie
   3             My understanding is your brother              3 would be another example that he just
   4       Donald Trump, Jr. holds that same title; is         4 mentioned.
   5       that right?                                         5 Q. What is his subspecialty?
   6       A. He does.                                         6 A. Development.
   7       Q. Does your sister Ivanka hold that                7 Q. Alan Weissberg, Andy Weiss. Are there            Ii
   8
   9
           title, also?
           A. She does.
                                                               8
                                                               9
                                                                 any other executive VPs that you know of?
                                                                 A. Not off the top of my head.
                                                                                                                     I:
  10       Q. Is there anyone else who holds the              10 Q. What about Jill Cremer; what is her
  11       title of executive vice president of               11 title?
  12       development and acquisition other than you         12 A. I don't remember Jill Cremer's title.             "
  13       and your siblings?                                 13 She was an executive vice president.
  14       A. There is not.                                   14 Q. Is that pronounced Cremer or Cremer?
  15       Q. Anybody else who holds the title of             15 A. Cremer.                                           :'
  16       executive vice president and has a separate        16 Q. It is spelled C-R-E-M-E-R?
      17   subspecialty within that role?                     17 A. I could check, but I believe so.
  18       A. There are other executive vice                  18            MR. GRIFFIN: It is.                       ,)

  19       presidents, yes.                                   19            MR. TURKEL: I don't want to
  20       Q. Who are the other executive vice                20       get into a Waikiki/Waikiki thing
  21       presidents?                                        21       agam ..
  22       A. There is severaL Our CFO is an                  22 Q. How long have you been working at The
      13   executive vice president.                          23 Trump Organization?
~"'24
           Q. Who is that currently?                          24 A. Approximately five years, five and a
  25       A. Alan Weissberg.                                 25 half years.
                                                                                                                     I;
                                                                                                      3 (pages 6 to 9)
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                                                      10                                                        1211
  1               E. Trump                                  1               E. Trump
  2   Q. 2006?                                              2   real estate development industry?
  3   A. 2006.                                              3   A. I have hot.
  4   Q. Where did you go to college?                       4   Q. When you were ill college did you spend
  5   A. I went to Georgetown~                              5   summers working for Trump Organization?
  6   Q. When did you graduate?                             6   A. Yes and no. I worked with Trump
  7   A. I graduated in 2006.                               7   Organization. I worked for other
  8   Q. Did you do any graduate work?                      8   organizations.
  9   A. I did not.                                         9   Q. What other organizations did you work
 10   Q. What degree did you get from                      10   with?
 11   Georgetown?                                          11   A. I worked with Houlihan Lokey, a big
 12   A. I got a finance degree.                           12   investment bank in New York. I am sure you                :
 13   Q. It sounds like you cmne straight to               13   know them. I worked with another firm out of
 14   work for The Trump Organization?                     14   DC, Longstreet Partners. Both investment
 15   A. I canle straight to work approximately
                                                                                                                          I
                                                           15   banks.
 16   two months later.                                    16   Q. Were you consideling going into                        i
 17   Q. Within your title of executive vice               17   investment banking instead of real estate at
 18   president of development and acquisition what        18   some point?
 19   do you do; what moe your responsibilities?           19   A. I was.
 20   A. Really differs day-to-day. Oversee                20   Q. What made you change your mind?
 21   many of our proj ects, oversee vmi.ous               21   A. I thought it was the light move --
 22   different business matters. It really                22   light move to come into real estate.                 I)
 23   depends on a day-to-day basis.                       23   Q. You have a good fmnily business, .
 24   Q. Is there a general range of                       24   light?                                               I.'
 25   responsibilities you handle? For instance,           25   A. I think we have good foundation.

                                                      11                                                        13   I:
  1               E. Trump                                  1                E. Trump
  2   let me uy and illusu'ate what I am uying to           2   Q.     Other than the two places you worked          Ii
                                                                                                                     il
  3   figure out.                                           3   for, how often -- strike that.
  4        Would you serve the role of mm'keting            4         You spent SUllUllers working for two           ,
  5   or promotional efforts for one of the                 5   investment banking finns. Did you spend any          <0
                                                                                                                      1
  6   projects?                                             6   time working at Dump Organization?                   ;f

  7   A. I am certainly involved in marketing               7   A. When I was much younger I would work              ;
  8   and promotionals.                                     8   on a property level, but not on an
  9   Q. Is it conect that as an executive                  9   organizational level.                                ~

 10   vice president of development and                    10   Q. I assume you were doing things like                i
 11   acquisitions, whether it be you, your brother        11   basic hourly wage kind of work?                       i
 12                                           a
      or your sister, that role can encompasses            12   A. Cutting down trees; mowing lawns, yes,
 13   wide range of functions ranging fl.-om               13   Q. What properties did you work for?
 14   construction input to mmoketing to deal              14   A. I worked for Seven Springs. I worked
 15   points in a business deal?                           15   for several golf properties.
 16   A. That's accurate.                                  16   Q. You have been there five years. You
 17   Q. Would that hold uue for both Don, Jr.             17   got on board around '06. Let's talk about
 18   and Ivanka?                                          18   what projects you have worked on, because
 19   A. It would.                                         19   fl.-om what I gather, you can conect me if I
 20   Q. From what I understand, the three of              20   am wrong, the way it works there is you may
 21   you moe lateral on an organizational chmi?           21   be assigned to various Tlump developments,           i
                                                                                                                     !
 22   A. We are.                                           22   whether they moe completely owned or licensed        j

 23   Q. Have you ever worked '-- prior to                 23   or whatever, and worked those proj ects for          Ii
 24   working for The Trump Organization did you           24   some period of time; is that right?
 25   ever work for any other company that's in the        25   A. That's light.

4 (Pages 10 to 13)
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                                                      18                                                        20
  1                E. Trump                                 1                E. Trump
  2   good deal and ultimately he would approve it          2    Trump Organization, right?                                   ,/

  3   or not.                                               3    A. On-the-job?                                           i
  4   Q. I guess what I am getting at is I am               4    Q. Not -- don't take that as any sort of
  5   just trying to put myself back into the               5    commentary as whether your education at
  6   literal 2006.                                         6    Georgetown provided you some basis. I assume
  7   A. Sure.                                              7    you took some classes in real estate at
  8   Q. You're fresh out of Georgetown, you                8    Georgetown?
  9   show up at The Trump Organization, you jump           9    A. Of course.                                            i
 10   in your executive vice president office and          10    Q. Why didn't you go to Penn?
 11   there are assignments on your desk or do you         11    A. My father asked me that all the time.
 12   go in and talk to your dad and he says               12    I didn't want to, actually.
 13   listen, Eric, I am going to get you involved         13    Q. Did he go to Penn?
 14   in Puerto Rico and Capcana?                          14    A. He went to Penn. He went to Penn.
 15        That's what I am trying to figure out.          15    Q. Ivanka went to Penn?
 16   A. It is both. Certainly I want to get               16    A. Ivanka went to Georgetown then
 17   you involved in these projects, can you help         17    transferred to Penn.
 18   me on them .. Then I think vice versa, I have        18    Q. That's even worse.
 19   a great proj ect that could be good for the          19    A. I followed her, then I liked it so
                                                                                                                          I
 20   company. What do you think about this? I             20    much I decided to stay.                              ~




 21   think it kind of worked both ways. Again,            21    Q. You should have down something even               !
                                                                                                                      ,
                                                                                                                      ~
 22   there is no formal system. It just flowed.           22    crazier, just go to like Plinceton or some
 23   Q. Who else was working on Puerto Rico               23    other Ivy, that would have been more fun.            1


 24   and Capcana when you started working on them?        24              MR. GRIFFIN: Or Florida State.                 j
 25   A. Attorneys. Meaning it was myself and              25              MR. TURKEL: It seemed like
                                                                                                                      ,
                                                                                                                          i

                                                      19                                                        21 :
  1                 E. Trump                                 1                 E. Trump                                   i
  2   mainly our team, our group of attorneys.               2         evelybody went to Penn. I guess I
  3   Q. That would have been Bernard Diamond?               3         really did want an answer to the
  4   A. Actually, it wouldn't, no. That was                 4         question.
  5   Alan Garten and several others.                        5   Q. Just doing your own thing or what?
  6   Q. It was just you and attorneys?                      6   A. Doing my own thing. Ivanka set up the
  7   A. For the most part, yes.                             7   perfect foundation for me. I followed her to
  8   Q. What stage were those developments in               8   Georgetown and loved it, never left.
  9   when you began working on them in 2006?                9   Q. When you say you were working with
 10   A. One of them, in the case of Puerto                 10   lawyers, don't take this question the wrong
 11   Rico, was largely developed. When it was              11   way because I don't mean it to be critical,
 12   first built there was housing ah'eady built.          12   but it seems to me if you are coming right
 13   The project named Capcana, it was a large             13   out of college and you are thrust right into
 14   development, a lot of product was ah'eady             14   working on these major developments with
 15   built on it. We canle in as a significant             15   little real estate experience, that there
 16   part of that proj ect.                                16   would have had to have been someone else on          :
 17         Las Vegas was going up, it was under            17   the scene helping you.                               i
 18   construction ah'eady, so they were largely            18   A. Again, the buck stopped with my                   I

 19   moving.                                               19   father. We would bring him a great deal, we         1
 20   Q. Did you have any training in the real              20   would negotiate a great deal. Ifhe liked it         I

 21   estate industry other than the training you           21   he would ultimately accept it. If he didn't         :1

 22   received since you came to work at The Trump          22   like it we wouldn't do it.
 23   Organization?                                        '23         Ifhe liked the deal, in the case of           i\
 24   A. I have not.                                        24   Puerto Rico, he really liked it and we
 25   Q. Everything has been on-the-job at                  25   decided to do it. I negotiated the deal and

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                                                                    22                                                         24'
          1                    E. Trump                                  1               E. Trump
          2
          ,.,
                    worked with the attorneys and ultimately got         2
                                                                         ,.,
                                                                               Q.    You are familiar with what a business
          :)        it done, and it has been a very successful           :)    chart is?
          4         project.                                              4    A. lam.
          5         Q. I understand the deal part. In other               5    Q. As I am asking these questions I am
          6         words, I understand the facet of this in              6    trying to visualize in my head how that chart         l
          7         which you can go sit down with your father,           7    would look. For lack of a better
          8         go through deal points and get his advice.            8    description, your father is at the very top,          ,1

          9              "What I am talking about more is the             9    there is a row underneath him of executive
         10         day-to-day functionality of a project. In            10    VPs, then underneath that is everybody else?          ~,

                                                                                                                                     ,
         11         other words, did you have anybody you would          11    A. That's correct.
         12         discuss issues, such as construction,                12    Q. Do you have any involvement with the
         13         retention of your general contractor,                13    Trump brand marketing or deals on the product
         14         architects, those functional day-to-day              14    licensing side?
         15         issues, or were you doing that alone?                15    A. Very little.
         16         A. We didn't take On those roles in the              16    Q. From what I understand that is
         17         case of Puerto Rico.                                 17    virtually your father and the marketing
         18         Q. Was that a license deal?                          18    department?
         19         A. It was a license deal.                            19    A. That's correct.                                   I'
         20         Q. "When you take a license deal on it is            20    Q. Is there any specific reason why you              ii,
         21         my understanding there are certain                   21    or your brother -- again, don't take this as
         22         supervisory and other review responsibilities        22    critical, it seems like you're carved out of         Ii'
         23         that the company must engage in, correct?            23    that business.
         24         A. Absolutely, That was part of our                  24         Is that something your father just
         25         teams. And we reviewed and I reviewed all            25    runs with?
     /
                                                                    23                                                         25
          1              E. Trump                                         1              E. Trump
          2 the plans and we had a great proj ect.                        2    A. I don't think there is any reason. I              1,\
          3 Q. I guess that's probably a descent                          3    think our history has always shown us as             Ii
          4 segue.                                                        4    being -- having great projects or working on         !~
          5      Can I assume, so I don't have to go                      5    great projects. I think that's probably what
          6 back through the entire corporate chart, that                 6    we gravitated to, as opposed to the product          :~
          7 your reporting and supervisory                                7    licensing stuff which isn't what we                  ~
          8 responsibilities would be identical to                        8    traditionally had done as a family.                  i~
          9 Donald, Jr.?                                                  9    Q. "When did Puerto Rico start? "When did
         10 A. It depends on what Donald, Jr.'s is.                      10    that deal begin?
                                                                                                                                    !,;
         11 But yes, I would assume so.                                  11    A. It would be probably the middle of
         12 Q. To sum it up without having to extract                    12    2007. I would have to go back and check the          I;it
         13 all of the testimony from you as I did from                  13    exact date. Somewhere around middle to late               ,
         14 him, his version of it was vertically he                     14    2007.                                                 "




         15 reports to your father and that there are any                15    Q. We had reviewed a number of proj ects
         16 number of people that are underneath him on
         17 the organizational chart with some people
                                                                         16
                                                                         17
                                                                               with your dad. I don't remember reviewing
                                                                               that one.                                            1
         18 that are also executive VPs being lateral.                   18         Puerto Rico was a license deal, right?
         19 A. That's correct. That's accurate.                          19    A. It was.                                            1
         20 Q. Can I assume, it may be an easy way to                    20    Q. "When we say it is a license deal, that
         21 answer the question, if someone is not                       21    means there is a license agreement entered
         22 lateral to you, if they are not an executive                 22    into between Donald Trump and whoever your           ".
         ~3 VP then they are subordinate to you on the                   23    development entity is over there, right?
--       24 vertical chart?                                              24    A. That's correct.                                    .'
                                                                                                                                         :
         25 A. That's correct.                                           25    Q. Do you have any knowledge that any
                -                    -         .,'          .
                                                                                                                 7 (pages 22 to 25)
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                                                     26                                                     28
  1              E. Trump                                  1                E.Trump
  2 license deals have ever been signed by                 2        answer.                                              (
                                                                                                                             /


  3 anybody other than your father in his                  3             MR. TURKEL: Let me rephrase                     \

  4 individual capacity?                                   4        it.
  5 A. No, I wouldn't know. You would have                 5   Q. When I say "structured" I mean how
  6 to ask, really, the lawyers.                           6   were the payments structured?
  7 Q. Do you understand that distinction?                 7   A. The payments were structured. We got
  8 In other words, your father signing as CEO             8   paid off of a percentage of gross sales
  9 and president of The Tlump Organization                9   sinlilar to a broker with certain hurdles.
 10 versus signing as Donald Tlump individually.          10   Q. Were the gross sales percentages tied
 11 A. I understand the distinction.                      11   to a threshold level of profit?                   I:
 12 Q. You've got a finance degree,                       12   A. They were not tied to a level of               I:
 13 theIefore, if I talked to you about various                profit, no.                                       I:
                                                          13
 14 business fOTIlls and the difference between an        14   Q. It was just a str'aight percentage of
 15 LLC and a corporation and a j oint venture, do        15   gross sales?
 16 you understand those concepts?                        16   A. That's correct.
 17 A. Yes. For the most part I think I                   17   Q. Was there any flat fee component to
 18 would want the lawyers to speak about it. It          18   your license fee in Puerto Rico?
 19 is really their field and not mine.                   19   A. There is a flat fee.
 20 Q. I may ask you some questions today                 20   Q. Was it a one-time or was it annual?
 21 that ask for your understanding of certain -'-        21   A. No. It was a one-time fee.
 22 of some of those concepts. When I do so I             22   Q. Did you invest, "you" being The Tnimp
 23 understand that the lawyers may know more,            23   Organization, any capital into the Puerto
                                                                                                                     ,
 24 but if you do have any basic knowledge about          24   Rico deal?
 25 those, I am going to want you to discuss              25   A. We did not.

                                                     27                                                     29 '
                                                                                                                 i'
  1                  E. Tlump                              1               E. Trump
  2 those.                                                 2   Q. Why not?
  3      Is that fair?                                     3             MR. GRIFFIN: Object to the
  4 A. Agam, I would rather -- I think there               4        fOInl of the question.
  5 are better people to answer those questions            5   A. I don't know if there is any reason we
  6 than ask me what I might or might not know             6   didn't. We chose not to. It is the way we
  7 about a celiain --                                     7   structured the deal initially.
  8 Q. I understand that. We will probably                 8   Q. Did the developers at Empresas come to
  9 ask some of the lawyers those questions. It            9   you or did you go to them?
 10 is just that in discussing some of these              10   A. They came to us.
 11 issues there is no way not to implicate the           11   Q. When they initially came to you were
 12 lmowledge of some of the business people,             12   they asking for capital or just a straight
 13 also. That's why I wanted to know if you had          13   license?
 14 a basic understanding of those concepts.              14   A. They asked for our involvement in the
 15      Who was the developer in Puerto Rico?            15   proj ect and it ended up being a straight
 16 A. Empresas Diaz.                                     16   license.
 17 Q. The common spelling?                               17   Q. Did you consider a capital
 18 A. The common spelling, E-M-P.;,R-E-S-A-S,            18   pruiicipation in the Puerto Rico project?
 19 D-I-A-Z. Two words.                                   19   A. We did not.
 20 Q. Do you remember how the license deal               20   Q. Why not?
 21 was structured for Puelio Rico?                       21   A. I, quite franldy, don't :recall at this
 22 A. I do.                                              22   point. It just wasn't something we did.
                                                                                                                 ,
 23 Q. How was it structured?                             23   That's the way we structured the deal that        i
                                                                                                                 i
 24           MR. GRIFFIN: Object to the                  24   worked out for both sides.                        I
                                                                                                                 I
 25      fOlID of the question. Again, ,you can           25   Q. Who would have vetted that out?
                                                                                                                 i
8 (Pages 26 to 29)
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                                                                   30                                                          32 :
                1               E. Trump                                 1              E.Trump
                2                                                                                                                    j
                  That's a very vague question.                          2 Organization have as it related to the                   :"
                3       Who would -- in your experience at               3 day-to-day functions of the Puerto Rico                   ::
                4 Trump Organization, who would vet out the              4 project?
                5 issue of whether to approach a deal as a               5 A. Well, I think we generally as
                                                                                                                                    11
                6 license deal, a joint venture, a legal                 6 employees oversaw a lot of details, mainly                   "
                7 pruinership or an LLC or any type of business          7 ensuring our brand standards and making sure
                8 form?                                                  8 it was a great project. It is probably a
                9 A. Again, I think it depends on the                    9 thing that's most important to us.
               10 times. I think it could depend on your                10 Q. In that respect, and that's where I am
               11 financial statements at the time. I think it          11 heading with the question, even though your
               12 could depend on where the project is, who the         12 father may be the licensor, the official
               13 partners are, what the partners require.              13 licensor license agreement, the functions of
               14 Many of these projects are different.                 14 the license agreement which relate to                    I;
               15       In this case they didn't need the               15 supervising the project, ensuring compliance
               16 capital, they wanted our name, and that's the         16 with Trump standards, reviewing promotional
                                                                                                                                    [:
               17 deal that was struck.                                 17 materials, reviewing building materials,
               18 Q. You got in on Puerto Rico at the                   18 reviewing designs are all delegated to The
               19 ground floor; is that right?                          19 Trump Organization; is that right?
               20            :MR. GRlFFIN: "You" being?                 20 A. I wouldn't say that. I don't know if                  I",
               21 Q. You individually worked that project               21 there is a distinct line. Weare employees
               22 pre-deal or was it already being built when           22 of a company and we ultimately watch over our            I::
               23 you got to Trump Organization?                        23 proj ects to make sure that they are built to
               24 A. The project was being built. I worked              24 our specs and comply, quite frankly, with the
               25 it from the inception of it coming to Trump           25 license agreement that was negotiated at that
     ,                                                                                                                              I
                                                                   31                                                          33   I:
                1              E. Trump                                  1                 E. Trump
                                                                                                                                    Ii'
                2 Organization.                                          2   time. That's ultimately what we do.
                3 Q. Were you working on it before you were              3   Q. I think that would be yes, then.
                4 employed there?                                        4        What I did in my question was I just
                5 A. No. The deal-- the actual project                   5   broke it down to some of the functions I have
                6 was under construction. There were several             6   seen in the license agreement, which is
                7 golf courses on it. There was housing on it.           7   review of promotional materials, review of
                8 The proj ect was being built, then we came in.         8   design plans, review of construction
                9 Q. They were building it regardless and                9   standards.
               10 the idea of branding it Trump came up after           10        Is that fair?
               11 they started building; is that right?                 11   A. Review of design, yes. Review of                     :::

               12 A. That's correct.                                    12   construction standards, absolutely. Yes,
               13 Q. What responsibilities did you and The              13   that's right.                                           ,
               14 Trump Organization have with respect to               14   Q. The goal of it -- I am not trying to
               15 Puerto Rico, as I don't know what to call             15   be coy with you here. The goal of it is to
               16 it -- let me strike the question.                     16   ensure that whoever is building a building             ,-

               17       You were not -- "you" being The Trump           17   that The Trump Organization is not building,
               18 Organization, was not a party to the license          18   because it is only licensing, builds
               19 agreement, correct?                                   19   something that would comport with the
               20 A. I don't understand the question.                   20   standards that you expect in products bearing
               21 Q. In the Puerto Rico deal was The Trump              21   the Trump name; is that right?
               22 Organization a party to the license                   22   A. Absolutely, yes, that's right.
 ,
'.

         '--
               23 agreement?                                            23   Q. That's why you retain all of these
               24 A. It was not.                                        24   functional design and other supervisory
               25 Q. What responsibilities did The Trump                25   functions, right?

                                                                                                                 9 (Pages 30 to 33)
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                                                      34                                                       36
  1              E. Trump                                   1              E. Trrnnp
  2 A. Of course.                                           2 A. That's right.                                           /f
  3 Q. With respect to Puerto Rico, did you                 3 Q. Again, it may change
  4 review any designs?                                     4 project-to-project who was on the team and
  5 A. Of course.                                           5 their exact day-to-day interface with the
  6 Q. Did you approve them? '                              6 licensee, but as a standard business practice          I
  7 A. We did.                                              7 that occurs in your licensing deals, right?
  8 Q. In your history at The Trrnnp                        8 A. Yes.                                                i
  9 Organization have you ever reviewed design              9 Q. Who generally does that aspect --                   ,
                                                                                                                     i
 10 plans that you rejected?                               10 strike that.                                           i
 11 A. Well, oftentimes it is not as simple                11      Who generally handles the marketing
 12 as just approve or reject. Nonnally we have            12 review and promotional materials review?
 13 our teams and they are working with people on          13 A. We have a marketing department.
 14 a continuous basis. And it depends -- it               14 Q. Is that Jill Crenler's department?
 15 differs from project-to-project so that by             15 A. n was Jill Cremer's department.
 16 the time that that plan is in its final                16 Q. Is she gone?
 17 stages, of course it is something that you             17 A. Jill Cremer is no longer with the
 18 are going to review.                                   18 company.
 19      Most of the time it doesn't get to the            19 Q. Whenever they say that about somebody
 20 point where a plan comes in, you just say it           20 it sounds so morbid, right? Russ Flicker is
 21 is rej ected. You have the meetings, and
 22 again, it is a process that builds upon
                                                           21 no longer with the company.
                                                           22      I am sorry, I tend to see the lighter
                                                                                                                    II
                                                                                                                     ;


 23 layers and layers and meetings and meetings.           23 side of these things sometimes.                        ;
 24 Q. That's fair. I didn't mean to imply                 24      How long ago did she leave? I know.
 25 there isa bright line, either reject or                25 Please just refi.·esh my memory. I am not              ,
                                                                                                                    Ii
                                                      35                                                       37
 1                    E. Trump                              1               E. TIUmp
 2    accept.                                               2   trying to give you a hard time about it.
 3         I think better stated both in Puerto             3   A. My guess would be somewhere around two           'i
 4    Rico and evelY other project you have been            4   years ago, two and a half years ago.                 :
 5    involved with there is a team involved that           5   Q. Do we know where she is at now? i'We"            j
 6    is interfacing with your development licensee         6   being you, me and everybody here.                   ~
 7    to ensure that the product comports with              7   A. I actually don't. Maybe one of you               1
 8    Trump standards?                                      8   do.
 9    A. Absolutely.                                        9             MR. GARTEN: I know.
10    Q. Did you review or do you review as a              10   Q. Who else would be in her department
11    standard practice promotional marketing              11   that would participate in the review of '
12    materials sent out by your development               12   marketing and promotional materials? Would
13    licensee?                                            13   have been.'
14    A. We have people who do.                            14   A. Today?
15    Q. That wouldnit come within your                    15   Q. Who would have been in that
16    specific role?                                       16   department, let's say '06 forward, in your
17    A. To a certain extent, yes. But I think             17   histOlY?
18    we -- again, sitting at the top of the               18   A. No one that I can think of.
19    pyramid you have people who are mainly               19   Q. Who is in there now?
20    responsible for those elements and they bring        20   A. We have Selma Langer.
21    fma1 product to you for your review and              21   Q. That's it, one person?
22    approval.                                            22   A. One person. She has a couple of
23    Q. Those people would be part of, in a               23   marketing assistants that help her.
24    general sense, whatever team is allocated to         24   Q. Did Jill have people that worked with   1
25    that specific project, right?                        25   her?

10 (Pages 34 to 37)
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                                                             38                                                            40 ,"
         1               E. Trump                                  1               E. Trump
:----   .2   A. Quite frankly, I don't really                      2   we probably didn't do. I am not sure, to
        ;3   remember.                                             3   tell you the truth. I would have to go back               ..

         4   Q. "What is Selma Langer's title?                     4   and literally look through every single deal.
                                                                                                                                Ii
         5   A. She is vice president of marketing.                5   Q. "What kind of deal was Vegas?                         I
         6   Q. That was Jill's title, too, as I                   6   A. Vegas was an ownership deal.
         7   recall, right?                                        7   Q. "When you say "an ownership deal" what                I:
         8   A. I don't recall. I could check for                  8   do you mean?                                             I'
         9   you.                                                  9   A. We are the developer of that proj ect                 I;
        10   Q. "What is the ultimate name of the                 10   and we own it in a partnership with one other
        11   Puerto Rico project? "What was it called?            11   individual.
        12   A. Trump International Golf Club, Puerto             12   Q. "Who is the other individual?
        13   Rico.                                                13   A. Phil Ruffin.
        14   Q. "When did the Capcana project start?              14   Q. How much -- is Vegas done? Is it                      I
        15   A. In that same general timeline, late               15   finished?
        16   2007, mid-2007.                                      16   A. Vegas is finished.
        17   Q. License deal or joint venture; what               17   Q. Was it or is it a successful project?
        18   kind of deal was it?                                 18   A. I believe it is successful, yes.
        19   A. That was also a license deal.                     19   Q. Have you guys seen a return on your
        20   Q. Any distinctions as compared to the               20   capital investment?                                       :!,

        21   Puerto Rico deal?                                    21   A. No, not yet.
        22   A. There are always distinctions between             22   Q; Does it project to have a positive
        23   these proj ects. They are very different.            23   return on the investment?
        24   Q. In what respect?                                  24   A. I certainly hope so. I certainly hope
        25   A. For one thing, Puerto Rico was pure               25   so. Vegas was built at roughly the same time             ::1
                                                             39                                                            41
         1               E. Trump                                  1                E. Trump
         2   residential. Capcana had a hotel in there.            2   when the whole world was going through a
         3
         4
             Capcana had more golf courses. Capcana was a
             larger master plan.
                                                                   3
                                                                   4
                                                                       downturn. Obviously any of those projects
                                                                       are tough. I consider it a success that we               j
         5   Q. How was the license fee structured in              5   built a beautiful building in a tough market,
         6   Capcana?                                              6   but no, there has been no return.
         7   A. It generally worked the same way.                  7   Q. Is that on the strip?
         8   Q. Going back the same way as Puerto                  8   A. It is directly off the strip.
         9   Rico?                                                 9   Q. Casino?
        10   A. The same way as Puerto Rico,                      10   A. No casino.
        11
                                                                                                                                I:'
             percentage of gross and an upfront fee.              11   Q. No casino?
        12   Q. The up front fee was a one-time cash              12   A. No casino.                                            I'I"
        13   payment, no annual --                                13   Q. No casino; really?
        14   A. Correct.                                          14        "When you say directly off the strip,
        15   Q. At some point -- since you have been              15   how familiar are you with Vegas?                         ,.
                                                                                                                                 :.
        16   at Trump Organization in '06 have the license        16   A. Very familiar.
        17   deals that you have worked on all contained a        17   Q. Do you know where Rio is?
        18   percentage of gross as opposed to a                  18   A. Ido.
        19   percentage that was tied to a profit                 19   Q. Is it off the strip like Rio is off
        20   threshold?                                           20   the strip?
        21   A; Truthfully, I don't know. I don't                 21   A. No. It is probably 200 yards off the
        22   know all of them off the top of my head.             22   strip, right next to the Fashion Show Mall,
        13   Those two were both my deals and that's how I        23   right across from Wynn.
 ''---/24    structured them at the time.                         24   Q. It is closer to the strip than Rio is.
        25        I am sure there are other deals that            25   A. It is a pitch or two away from the

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                                                    42                                                       44
  1             E. Trump                                   1             E. Trump
  2 strip.                                                 2 Las Vegas proj ect, you yourself? What pait
  3 Q. A well-struck pitching wedge or a 3                 3 of it did you work on?
  4 iron on the ground?                                    4 A. A lot of construction, sales and
  5 A. Yes.                                                5    marketing. The ramp up of the hotel and a
  6 Q. If it is that close I would probably                6    lot of other elements.
  7 putt it.                                               7    Q. What was the time frame for Vegas?
  8      Just out of curiosity, why is there no            8    A. Opening?
  9 casino there?                                          9    Q. Yes.                                            ,
 10 A. We--                                               10    A. March 2008.
 11 Q. I ask that just --                                 11    Q. What point in time did you become
 12 A. Sure.                                              12    involved with Trump Tower Tainpa?                   .!

 13 Q. -- because your dad has been in the                13    A. I was never involved with Trump Tower
 14 casino business before. It seems to me if              14   Tampa.
 15 you are going to build a hotel off the strip           15   Q. Ever?
 16 you are going to put a casino there.                   16   A. No. I know very little about the
 17 A. We have our gaming licenses. Casino                 17   project.
 18 is something we know very well. We decided             18   Q. That will certainly shorten things.
 19 to do a very high end concept white glove              19        I am going to go through some e-mails
 20 service where people wouldn't hear the                20    that you were copied on just to figure out
 21 ding-ding-ding of slot machines. We wanted            21    why you were copied on them.
 22 to do something a little different. There             22         Did you do any work on Trump Tower           ·i,
                                                                                                                        ,
 23 are plenty of casinos there and it has worked         23    Toronto?
 24 very well for us.                                     24    A. I have a minor involvement in Trump
 25 Q. You didn't put like a crystal baccarat            ·25    Tower Toronto.
                                                                                                                        ,
                                                    43                                                       45     ii
  1             E. Trump                                   1               E. Trump
  2room or something like that where they didn't           2 Q. What minor involvement did you have in              :
  3have to hear the ding-ding-ding and they                3 that proj ect?                                             f

  4could gamble?                                           4 A. We do our best generally to try to
  5A. We did not. We did not.                              5 fill each other in. As you know, Trump Tower           j
  6Q. When you say you own that, what is the               6 Toronto is opening up in approximately tlu:ee          1
                                                                                                                    ;
  7equity breakdown, the capital -- let's call             7 or four months. We are opening the doors to
  8it the capital contribution breakdown between           8 the hotel, so the hotel company is a big part         i
  9you and the partner on Vegas?                           9 of our daily job, so obviously we are
 10A. Approximately 50/50.                                10 monitoring that very closely and working on
11 Q. Was all of the development                          11 that.
12 delegated -- strike that.                              12 Q. ]\.fr. Trump,what you are looking at is
13      Was all of the development function               13 Exhibit 11, which is a study prepared by
14 provided by Trump or Trump Organization?               14 Linneman Associates in July 2007.
15 A. It was. It was velY different than                  15       Have you seen that document before?
16 Puelio Rico and Capcana that we mentioned              16 A. I have.
17 before.                                                17 Q. When have you seen it?
18 Q. When you say that's a pruinership, you              18 A. I have seen it several times.
19 mean a pruinership in the legal sense, right?          19 Q. What is your understanding of why --               :i
20 A. No, I didn't say -- well, it probably               20 str·ike that.                                         :\
21 is. In that case, it is probably a                     21       Was Linneman Associates retained by
22 pruinership in the legal sense. I don't Imow           22 Trump Organization to prepare this study?
23 the exact entity structure, but I am sure              23 A. Not to my lmowledge.
24 these guys could tell you.                             24 Q. Not to your knowledge?
25 Q. What did you do with respect to the                 25 A. Not to my Imowledge.

12 (Pages 42 to 45)
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                                                          46                                                            48   Il
     1                 E. Trump                                 1              E.Trump
     2    Q. How did it come that Linneman                      2 have seen this disclaimer get used several
 J   '"
     .J   Associates prepared this study, then?                 3 times.
  4,      A. Truthfully, I don't know.                          4 Q. What proj ects have you seen the
  5       Q. Is this a PowerPoint; is that what                 5 disclaimer used in?
  6       this is?                                              6 A. I couldn't recall all ofthem off the
  7       A. It could potentially be. I can't tell              7 top of my head. I know we used that
  8       by this. It looks like it is in PowerPoint            8 disclaimer as general practice.
  9       format, but I am not sure.                            9 Q. What format do you generally deliver
 10       Q. Do you recall attending any                       10 that disclaimer? In other words, for Toronto
 11       presentation by Linneman Associates?                 11 it was delivered on a website, published on a
 12       A. I do not, no.                                     12 website, right? Right?                                      i
 13       Q. Where that question is coming from,               13 A. I would assume it would be on quite a
 14       this appears to be a printout of a                   14 few of our websites.
                                                                                                                             ,"I
 15       PowerPoint. If it was, I would have assumed          15 Q. What is the purpose of the Trump
 16       they would have came to make a formal                16 International Hotel and Tower website for
                                                                                                                             Ii
 17       presentation.                                        17 Toronto?
 18       A. No, I was never part of a presentation            18          l'v1R. GRIFFIN: Object to the
                                                                                                                             1:'1
 19       about this study.                                    19      form of the question. Go ahead.
 20       Q. What is your understanding about why              20          l'v1R. TURKEL: Was it wrong the
 21       this study was done?                                 21      way I said Trump International Tower
 22       A. I really, quite frankly, don't have               22      website?
 23       one. I know Linneman, I believe, was a               23          l'v1R. GRIFFIN: No. I think the
                                                                                                                             I::
 24       professor at Wharton. I know there is a lot          24      question is overbroad.
 25       of history between my family and that school,        25          l'v1R. TURKEL: See, I am willing
                                                                                                                             I"

                                                          47                                                            49
   1                    E. Trump                                1                 E. Trump
   2      despite me going to Georgetown, but I think           2        to work with you. You object, I want
   3      they were trying to study various different           3        to fix the question.
   4      proj ects that we have across the country,            4              l\1R. GRIFFIN: I understand.
   5      around the world, and I really don't actually         5    Q. Was this -- let me reask the question
   6      know why it was created.                              6    so you understand.
   7                l\1R. TURKEL: Chris, could you              7        Was the website for Toronto prepared
   8           hand him number 12?                              8    to market the project to potential buyers?
   9                l'v1R. GRIFFIN: Yes.                        9    A. Well, I think it was prepared for two
  10      Q. Mr. Trump, I am showing you a                     10    things; first, part of the building is hotel
  11      disclaimer off the website for Trump                 11    and so it was slowly meant to sell rooms,
                                                                                                                              ,
  12      International Hotel and Tower Toronto.               12    which is ultimately the most important
  13           Have you seen that before today?                13    function of the hotel. Second, it was
  14      A. I have.                                           14    obviously to, yes, market the building.
  15      Q. When did you see it?                              15    Q. With respect to the disclaimer in the
  16      A. In terms of the disclaimer?                       16.   Toronto development it was posted on a
  17      Q. Yes.                                              17    website that was used to market hotel rooms              "I;
  18      A. Or in terms of the actual website                 18    and/or condo units, right?
  19      itself?                                              19    A. Yes, I think it would be accurate. I
  20      Q. Either/or.                                        20    have not read the exact disclaimer. I would
  21      A. I have seen the website. Obviously it             21    be pretty confident that's what it was for.
  22      is something that we are building and                22    Q. What other formats have you seen this
  )3      focusing on now that we are ramping up the           23    disclaimer or similar disClaimers delivered
-"24                                                                 . ?
          hotel and about to open. In terms of the             24    ill.
  25      disclaimer, I have seen this disclaimer. I           25           Do you understand when I say what
                                                                                                                             t
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                                                      50                                                         52
  1                E. Trump                                 1             E.Trump
  2 other formats, irt other words, other web sites         2 a website like the one in Trump Tower Toronto                 i

  3 for Trump projects?                                     3 withirt The Trump Organization?
  4 A. Yes. I think it is standard practice                 4 A. Generally either our IT department or
  5 to put a disclaimer on our various marketirtg           5 the marketirtg department or some combirtation
  6 materials, namely websites.                             6 of the two.
  7 Q. Do you do web sites like Toronto for a               7 Q. Do you know as you sit here today
                                                                                                                       ,.
  8 lot of your projects?                                   8 whether the Trump Intemational Hotel and
  9 A. We do.                                               9 Tower Toronto website was done by the                   Ii'
 10 Q. What kind of deal was Toronto?                      10 licensee or by The Tnunp Organization?
 11 A. Toronto was a license deal.                         11 A. I don't. I would -- I believe the
 12 Q. How was the payment structured on it?               12 initial websites for the actual building were
 13 A. I don't remember. I wasn't irtvolved                13 done by the licensee. I believe the hotel
 14 irt the actual structming of that job.                 14 website, obviously given the backbone that
 15 Q. As you sit here today can you tell me               15 has to come with that, the reservations were
 16 what other license deal that you know of at            16 done with us -- by Us.
 17 Trump Organization that had a website like             17 Q. Do you manage the onlirte reservation                Ii
 18 Toronto and used a disclaimer like Toronto?            18 through the hotels?
 19 A. Truthfully, I would be guessirtg if I               19 A. Yes, through a complex formula we do.
 20 could go through my mind of every sirtgle              20 Meanirtg they are backbone companies that help
 21 website that we have that has disclaimers. I           21 manage it, where they irtterface that.
 22 imagirte Puerto Rico did. I would imagine              22 Q. The mairt IT function may not be
 23 valious other projects. I would imagirte               23 on-site at Trump Organization, but you                    I
                                                                                                                        ,
 24 Hawaii probably did.                                   24 irtterface with some company you may have
 25       I thirtk those al'e probably the ones            25 subbed that work out to?                                I:

                                                      51                                                         53
  1                E. Trump                                1                 E. Trump
  2   that I have seen. But off the top of my              2 A.        Conect.
  3   head, I aln not sure that I could list them          3    Q. Is that fair?
  4   all.                                                 4    A. Yes.                                                I
  5
  6
      Q. Trump Intemational Hotel and Tower
      Toronto is due to be completed when?
                                                            5
                                                            6
                                                                Q. Let's assume for a second that your
                                                                instirtcts are conect and that the Tl"UlllP
                                                                                                                       j
                                                                                                                       ,
  7   A. The middle of this year.                           7   Tower Toronto website was done by the
  8   Q. Do you know when the project                       8   licensee.
                                                                                                                      ,;1



  9   initiated -- I will defIne initiated -- when          9        Would the content have been reviewed             1
 10   the license agreement would have been signed?        10   by your marketirtg department?
 11   A. I don't know the exact date off the               11   A. I guess, dependirtg.
 12   top of my head.'                                     12   Q. Dependirtg on what?
 13   Q. General year, maybe?                              13   A. Generally I would assume it would be
14    A. Truthfully, I would rather get you the            14   reviewed, yes.
15    right answer as opposed to guessirtg.                15   Q. Certainly your mal'keting department
16    Q. Who would administrate?                           16   wouldn't let materials go out usirtg your
17              :MR. GRIFFIN: Administer?                  17   name, your logo, your service mal'k without
18              :MR. TURKEL: Administrate.                 18   reviewirtg those; would they?
19              :MR. GRIFFIN: I don't think                19   A. That's generally conect, yes.
20         that's a word.                                  20   Q. In this time frame we are probably
21              THE WITNESS: Administer.                   21   passed Jill Cremer?
22              :MR. GRIFFIN: Go ahead.                    22   A. At this time frame we are probably
23              THE WITNESS: I didn't notice               23   passed -- well, this project was a 10ng-telTIl              \
24         until you poirtted it out.                      24   proj ect. Yes, I would say we al'e generally
25    Q. Who would generally be responsible for            25   passed Jill Cremer,

14 (Pages 50 to 53)
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                                                         54                                                          56 "
     1                E. Trump                                 1               E. Trump                                 k
··.. 2   Q. "When I say "this time frame" I am                 2   sequentially and pullout anything I see your
     3   referring to Exhibit 12 in the Trump Toronto          3   name on.
     4   project.                                              4        "While I am doing this, have you ever
     5   A. Again, I would really like to go back              5   been to Tampa?
     6   and get the specific dates. Otherwise, I am           6   A. I have not, I have not. I hear it is
     7   just talking out oftum.                               7   a good city, though.
                                                                                                                        I:
     8   Q. The one date that you are certain of               8   Q. If you are telling me that you heard              1::
     9   is that it will be finished this year?                9   that from George Steinbrenner or Derek Jeter,
                                                                                                                        II!
    10   A. That's cortect, it will be finished               10   I will laugh. If you throw another
    11   mid-year.                                            11   celebrity's name out, then we will depose
    12   Q. I understand that and, frankly, I                 12   them.
    13   don't think you tied yourself to too many            13        Tell us you heard it from Alex
    14   dates other than that one. If you need to go         14   Rodriguez.
    15   back we can shore up the dates later. .              15   A. Are you a big fan?                                ~
    16        Do you know why a disclaimer such as            16   Q. No, but when your father said that he              i
    17   the one used on Exhibit 12 is used?                  17   had discussed this project with George
    18   A. No. But I think -- truthfully, I                  18   Steinbrenner and Derek Jeter, my co-counsel           j
    19   think it has just become general practice in         19   immediately asked for a deposition date for           .,'

   20    our organization at this point. I don't know         20   Derek Jeter.
   21    why exactly it was put here in this instance         21   A. Me and Steinbrenner were good friends.             ;',

   22    or in any other instances. I think itis              22   Q. Were, and I know that.                             .:'

   23    probably project-by-project specific, but I          23             MR. TURKEL: Chris, can you
   24    think it has just become general practice.           24        give him Exhibit 30, please?
   25    Q. Was it a general practice when you                25   Q. Take a look at Exhibit 30, which is a               ,i
                                                                                                                         ..


                                                         55                                                          57'
                                                                                                                       ..'
   1                  E. Trump                                 1             E. Trump
   2     joined the company in '06?                            2 November 28,2006 e-mail from Jill Cremer to
   3     A. Truthfully; I don't know.                          3 Mark Randall at Wood Partners on which you
   4     Q. Let's talk a little bit about Trump                4 were copied.                                             i·

   5     Tower Tampa.                                          5          MR. TURKEL: I will tell you
   6          You have said to me already that you             6     that the breakdown proformas are not
   7     didn't have anything to do with the proj ect,         7     attached to this actual exhibit,
   8     or very little?                                       8     Chris. Parenthetically, I don't know
   9     A. That's correct.                                    9     that they were produced with the                   ;

  10     Q. "What is your understanding of who                10     attachments.                                        ~
                                                                                                                          'i
  11     within The Trump Organization was responsible        11          MR. GRIFFIN: Okay.                              ;,
  12     from the business side for Trump Tower Tampa?        12          THE WITNESS: Sure, go ahead.                   ';
  13     A. I think it would have primarily been              13          MR. TURKEL: I can't confirm
                                                                                                                          ;
  14     my brother Don and potentially Russ. Mainly          14     that 100 percent. We may want to
  15     those two people.                                    15     check. I think out of fairness to all
  16     Q. "When you say Russ you mean Russ                  16     witnesses when we have something that
  17     Flicker?                                             17     references an attachment we probably                 ,
  18     A. Russ Flicker.                                     18     should have the attachment.
  19     Q. I want to go through the existing                 19          MR. GRIFFIN: Sure.
  20      exhibits before we go through anything new.         20 Q. .Do you recall receiving Exhibit 30?
  21     I want to take a look at some of the                 21 A. I don't.
  22      documents that we talked to your brother            22 Q. Do you know who Mark Randall is?
  23      about yesterday that you were copied on.            23 A. I don't. This letter generally means
  24      Give me one second to flip through them.            24 almost nothing to me.
  25          I will basically go through these               25 Q. I don't think you can be any more

                                                                                                      15 (Pages 54 to 57)
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                                                        58                                                        60
  1                   E. Trump                                1                E. Trump
  2   direct.                                                 2   Q.     Just to take that a step further, for                   /

  3           MR.. GARTEN: Anymore questions                  3   instance, if there had been an aiiicle that
  4      about this e-mail?                                   4   came out during the Tampa project regarding
  5 Q. I guess for my perspective as an                       5   this lawsuit or other issues with the
  6 attomey in this case and looking at the                   6   project, you wouldn't be blindsided by it
  7 v81ious documents, the only question I would              7   because you would have seen correspondence
  8 ask is as you sit here today, why would you               8   and so f01ih.
  9 have been copied on this if your reaction is              9        Is that, perhaps, one of the reasons
 10 it means nothing to you?                                 10   you would get copied on tI1is and 811Y other               I
                                                                                                                             I
 11 A. I tI1ink I was getting ramped up at The               11   project?
 12 Trump Organization at tile time. I think                 12   A. I don't know if it is necessarily for
 13 people wanted to get me acclimated in                    13   a lawsuit. I don't thinle I said that.
 14 different projects and Jill obviously worked             14   Q. I will give you an exclusive example.
 15 for us. I tI1ink she cc'd -- it looks like               15   Not to cut you off, an article about anything
 16 she cc'd all of the Tnimps on this, as well              16   with the project.
 17 as our attomeys. So, that's my guess.                    17   A. I don't tIllnk it is any different than
 18      I don't remember this e-mail. I don't               18   you working at a potential law firm and
 19 know who the people are that this e-mail is              19   wanting to know the big cases that are
 20 referencing. I don't even know who they 81'e.            20   happening at that law firm. I think
 21 That would be my guess.                                  21   evelybody wants to be in the loop on what is
 22 Q. Would it be common -- don't take this                 22   happening in their organization. That's                    !
 23 question the wrong way, but something you                23   likely why I was copied on this.
 24 said makes me want to ask this question.                 24   Q. In reviewing the documents in this                Ij
 25      After you joined the organization, all              25   case your father was copied On very few of             ,i
                                                                                                                       I;
                                                        59                                                        61
  1                 E. Dump                                  1          E. Trump
  2   three of the cl1ildren, the Tlump children             2 them.
  3   were working there, light?                             3     Why would that be?
  4   A. Sure.                                               4    A. Well, my father, quite frankly -- my
  5   Q. Is that light?                                       5   father doesn't use e-mail.
  6   A. Yes, it was.                                         6   Q. At all?
  7   Q. Would it have been common for all                    7   A. If you can believe it.
  8   three of you to be copied on e-mails                    8   Q. No, I believe it.
  9   reg81'ding current proj ects for the reason you         9   A. He is the other generation where, you
 10   stated, just to acclimate you to what is               10   lrn.ow, he doesn't really believe in them.             I
 11   going on in the business?                              11   Q. Which in today's world begs the next
 12   A. I think you have to understand the                  12   question, which would be this: How would
 13   family. We are questioned by reporters on              13   either you, Ivanka, Don, Jr., Benrie Diamond
14    almost a daily basis. We 81'e always going             14   or anybody at The Tlump Org generally keep
15    around the world. It is important for us to            15   your father posted about the status of a
16    understand the basics of each of the projects          16   project ifhe is 110t copied on the day-to-day
17    and, therefore, we tty and cc each other,              17   e-mail cOlTespondence?                               Ii
18    meruring Don, Ivanka and I, as much as we can          18   A. We would walle in his office, sit down
19    so evelybody stays within the loop,                    19   with him and we would discuss it. He has a
20         It is a velY important p81i of our                20   velY uncanny ability to pick up on things
21    business, especially being that, you know --           21   velY quickly and we would discuss the salient
22    maybe you use the word mom and pop. We                 22   points with hinl.
                                                                                                                       1.1
23    really 81'e. That's how we act. We are a               23   Q. With respect to Trump Tower Tampa who
24    familY-lUll business and so I think this was           24   would have had those discussions Don, Jr.?
25    common practice between the three of us.               25   A. I imagine it would have been Don, Jr.,

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                                                    62
1                 E. Trump                               1                   E.Trump
2    Russ. Really those two.                             2      Q. I am going to ask the questions and if
3    Q. As between Don, Jr. and Russ, who had            3      your answer to every one of them is I had
4    more knowledge regarding the Tampa project?         4      very little to do with Tampa, I understand
5              :MR. GRIFFIN: Object to the               5      that.
6          form of the question.                         6            From my perspective when I see you
 7   Q. I am just asking for your perspective            7      show up on a document, I need to know if you
 8   on that.                                            8      had any actual involvement.
 9   A. I had very, very, very little                    9      A. Absolutely. And if any of these do
10   involvement, if any, in this proj ect. I            10     spark a recollection I will absolutely fill
11   really don't know the hierarchal command who        11     you in on whatever I know.
12   ran the project, who handled the day-to-day.        12     Q. Did your brother ever talk to you
13   It is certainly a question worth asking Don.        13     about Trump Tower Tampa?                              I:
14   Q. I have already asked him. I wanted to            14     A. Very, very little. Again, as I just
                                                                                                                      ~
15   see if your testimony comported with his.           15     mentioned, I know very little about the
16   For what it is worth, I think he said Russ          16     proj ect in general. It was consummated
17   had more to do with it.                             17     before I ever came to The Trump Organization
18         Do you have any general understanding         18   . and I never worked on the project. I think I
19   of what happened with respectto Trump Tower         19     was cc'd on very few e-mails and I don't know
20   Tampa?                                              20     a whole lot about it in general.
21   A. Very little.                                     21     Q. Do you have any recollection of
22   Q. Tell me what little you understand.              22     whatever conversations you had with your
23   A. It was a deal that we had that didn't            23     brother, albeit brief?
24   move forward. I believe the developer of the        24     A. I really don't.
25   project went bankrupt. That's generally my          25     Q. What about Ivanka?

                                                    63                                                           65
1                 E.Trump                                1                 E.Trump
2    understanding of this project.                      2     A. Very few.
3    Q. Did you ever have any discussions with           3     Q. What was Ivanka's role in Tampa; do
4    your brother about the proj ect?                    4     you know?
5    A. Very few.                                        5     A. She played a very small role,· if any
6              :MR. TURKEL: We are going to              6     role, in Tampa. I don't remember ever having
                                                                                                                       :.:
7          mark this 10.                                 7     a conversation with Ivanka about this
8               (Whereupon a March 23,2007               8     project.                                                ':
9          e-mail was marked Plaintiffs Exhibit          9     Q. What role do you understand her having
10         10 for identification as of this              10    played?                                                 '"
11         date.)                                        11    A. With Ivanka?
12   Q. I am showing you Exhibit 10, which is            12    Q. Yes.
13   a March 23, 2007 e-mail from Bernie Diamond         13    A. Probably the exact same role as mine.
14   to Robert Moreyra, and you are copied on            14    Maybe being cc'd on a few e-mails for
15   this.                                               15    informational purposes, but I don't think she
16         Do you recall receiving it?                   16    was ever part of any negotiation, any kind of
17   A. I don't, I don't. We received so many            17    deal. The initial structure, to my
18   of these e-mails.Obviously.Idid. But                18    knowledge, she was not involved really in
19   again, given that Trump Tower Tampa wasn't          19    much in Tampa. It is obviously a better
20   one of my proj ects, this isn't something I         20    question for her. I don't want to answer for
21   would have focused on. Ironically, I am also        21    her. That's my recollection.
22   cc'd last on this.                                  22    Q. I obviously intend to ask her that. I
23   Q. I have Jill Cremer showing --                    23    guess I am asking you -- what I am trying to
24   A. Meaning of the Trumps, which is                  24    get is your perspective inside the company of
25   probably more for informational purposes.           25    what one of your co-executive vice presidents

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                                                       66                                                        68
  1                E. Trump                                  1               E. Trump
  2   cif development and acquisitions is doing.             2   as opposed to ajoint venture, a fonnallegal                 /
  3        When you tell me she played a small               3   partnership, ail LLC or any other type of                   \.

  4   role, I want to try to find out what role you          4   business fmID?
  5   think she played.                                      5   A. I have no idea. It was the decision,
  6   A. I think it is a small, if any, role.                6   obviously, that was made at the time. But
  7   I don't -- again, I can't remember a single            7   no, I don't know the reasoning.
  8   conversation with her about tins project. We           8   Q. Do you draw a distinction between ,
  9   speak about our projects on a daily basis.             9   using the teml parmer in a common sense
 10   We all know what is going on with each                10   vemacular and using it to refer to a legal           I:I:
 11   other's projects and I don't remember ever            11   entity?
 12   having a conversation with her about it.              12   A. Absolutely. I think there are a lot
 13   Q. That's what prompted my question about             13   of different definitions of partner. I think
 14   discussions with your brother Donald. I               14   there is probably a religious defInition of
 15   would assume you and your brother and sister,         15   partner. There is a casual defInition of
 16   from the way you answered questions, do have          16   partner. There is probably a legal
 17   sort of infonnal conversations about various          17   definition of partner, which you guys could
 18   projects, particularly given how you said             18   speak to much better than I could.
 19   that you run the company.                             19        Partners, you have a general
 20        Against that background, you don't               20   relationship with somebody, potentially you
 21   recall any conversations with your brother            21   work with them. I think conversationally,
 22   Donald, Jr. either?                                   22   yes, I think I would Ihakethat distinction.
 23   A. Very few. Again, I think it nnght                  23   Q. That being said, as a finance major at
 24   have predated Don. I don't remember the               24   a very respected university you understand --          :
 25   exact timeline for this. I am guessing. I                                                                         j
                                                            25   whether you understand it as well as the
                                                                                                                      -,
                                                       67                                                        69
 1                 E. Tlump                                  1               E. Tlump
 2    tInnk maybe it was Russ. Maybe it was Don.             2   lawyers is a different matter, you understand
 3    Again, I am not exactly sure of the exact              3   generally what a legal partnership is?
 4    order of that, but I had very few                      4   A. Generally, I didn't go to law school.
 5    conversations with Don about this proj ect.            5   If you ask me to defme legal partner, I
 6    Q. The general timeline, you are conect,               6   would not be able to do so for you. Yes,
 7    the license could have predated your hire.             7   generally, I guess, a legal defInition versus
 8    The project was still being dealt with in one          8   kind of the evelY day defInition I can
 9    form or another when you got there in '06,             9   certainly grasp.
10    but I don't want to give you the illusion             10   Q. Grasp, thel'e is a distinction, right?
11    that it was signed after you were there,              11   A. Yes, that there is a distinction,
12    because I believe you are conect.                     12   probably.
13    A. No. Particularly a person brings a                 13   Q. Going back to be Tampa, do you have
14    project all the way in our company, no                14   any idea why that was done as a license
15    different from Puerto Rico or Capcana,                15   agreement?
16    somebody gets in at inception, they                   16   A. Again, I mentioned I don't. It was
17    understand all the moving pieces to a proj ect        17   purely based on the times and the decision
18    and they stay with that project until                 18   that was made then. I am sure Don could have
19    completion,- quite frankly, in perpetuity, and        19   answered that or somebody could.
20    that's generally how it works.                        20   Q. Let's use another project.
21         And so I don't lmow if that was the              21        Why Was Toronto done as a license
22    case with Don here or not. Again, for that            22   agreement?
23    reason I simply wasn't really involved.               23   A. Again, I thinlc it waS the                         !\

24    Q. Do you have any idea of why the Dump               24   circumstances at that time. There were a lot
25    Tower Tampa was done as a license agreement           25   of things that go into these projects; they

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   1                 E. Trump                                 1              E. Trump
   2    are not cookie cutter, they are not just a            2 decision. I don't think there is anything in
   3    basic mold.                                           3 the world that risk doesn't factor into in
   4          Toronto is obviously in Canada and              4 some way. I think it is probably much more                I~
   5    there was a very competent developer there.           5 the situation that we had in the company at               I;
   6    That developer wanted the name, wanted the            6 the time, who we are dealing with. There is               I;
   7    brand. And, you know, it depends. It                  7 a lot of different factors that go into it.               I'
   8    depends on your financial condition as a              8 Q. Do you know whether The Trump                          Ii!
   9    company at that point. It depends on who the          9 Organization ever did a disclaimer like the               I
  10    partners are. It depends on the proj ect             10 Toronto disclaimer to the potential
  11    itself, where that project is located, the           11 purchasers in the Tampa project?
  12    backing that proj ect has. It depends on a           12 A. I have no idea.
  13    lot of different factors, so I wouldn't be           13           MR. TURKEL: Chris, I think
  14    able to go back and say I knew exactly why it        14      that's 45. It is the lawsuit e-mail.
  15    was done in Toronto. It is the way it                15      Is that your e-mail, the March 7?
  16    happened based on a magnitude of different           16           MR. GRlFFIN: Yes. Foryour
  17    factors.                                             17      information, Mr. Trump, the redacted
  18    Q. Why was Vegas done -- you referred to             18      parts of that are what we did to                      ':'
  19    it as a partnership. I think it may have             19    . preserve attorney-client privileged
  20    been a joint venture, I have not seen the            20      information before it was produced to
  21    documents.                                           21      the other side.
  22    A. Yes.                                              22           THE VVITNESS: Sure. Okay.
  23    Q. It was done with some equity                      23 Q. Take a look at -- is it 45?
  24    participation?                                       24           MR. GRlFFIN: Yes.
  25    A. Sure.                                             25 Q. Let me know if you recognize that

                                                        71                                                           73
    1              E. Trump                                   1              E. Trump
    2 Q. Why was it done that way?                            2   document.                                               1~




    3 A. Phil Ruffm, who I mentioned before,                  3   A. I've got it.
    4 our partner in the deal, he -- whether it be            4   Q. Do you recognize that document?
    5 a joint venture or not, you could ask Alan,             5   A. I obviously got sent it Quite
    6 he had a piece of land, we had the name and             6   frankly, I don't remember it. It seems like
    7 we came in, we built the proj ect. He                   7   it was a long time ago, but I am sure I
    8 contributed the land. We went 50/50 with                8   received it.
    9 everything else. That's just the way the                9   Q. Why would you have been -- there is
   10 deal was structured at that time.                      10   obviously an attorney-client component to
   11      I think my father had a long-time                 11   this document, but given that, with                      ,i:

   12 relationship with PhiL He knew him very                12   respect -- I am sorry, my contact got knocked
   13 welL We really believed in that location               13   out a little bit.
   14 and it just made sense at that time. We had            14   A. Take your time.
   15 the money to do it and it's the structure              15   Q. With respect to the component of this
   16 that we chose.                                         16   e-mail, 45, I believe some of you -- I                   ::
   17      Again, there is not an exact science              17   believe each of you had something to do with
   18 to these. It is kind of how the                        18   the project and likely have documents that
   19 conversations worked out based on location             19   must be disclosed.
   20 and 1000ther factors.                                  20        Did you have any documents that were
   21 Q. I understand there is a risk component              21   disclosed?
   22 that's assessed, also, right?                          22   A. Did I have any documents? I don't
   23 A. I am sure, yes. I'm sure risk factors               23   remember any documents for this proj ect.
~-'24
      into it to a certain extent. I don't know.             24   Again, I had very little involvement. I
   25 Again, I wasn't there when we made the                 25   think if you look up at the "to" line it

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                                                      74                                                        76
  1            E. Trump                                     1              E. Trump
  2 seems like all of the executive vice                    2 It is his agreement. It is his tradeniarks
  3 presidents were copied on this e-mail, which            3 that these agreements fall under, yes.
  4 doesn't seem a coincidence, other than                  4 Q. Do you know whether money gets paid to
  5    obviously Jill and BelIDe, who worked on the         5 The TlUmp Organization when licensing fees
  6 periphery.                                              6 are paid in any licensing deal?
  7      But to have Alan, Don, Ivanka and                  7 A. I don't understand the question.
  8 myself on there, it makes sense given the               8 Q. You may not know the answer. By the'
  9 organizational stlUcture that we discussed              9 way, don't think I don't understand or                  !
 10 before. It also mentioned, obviously,                  10 appreciate you deferring to the lawyers on
 11 infonning us of potentia1litigation, which I           11 this.                                                   i

 12 think this one does. It doesn't surprise me            12 A. I want to be accurate for you. I
 13 that I would be cc'd on this e-mail.                   13 don't want to be speaking in layman's temlS
 14 Q. There is a portion of tins that asks                14 that CQuid get misconstrued.
 15 for a brief description of your involvement.           15 Q. I get that.
 16 That was redacted out as an attomey-c1ient             16       What I would like you to do is if you
 17 communication.                                         17 have an understanding that is·a layman's
 18      I guess what I can ask that may not               18 understanding, say I believe the lawyers will
 19 encroach on this privilege is this: You have           19 know more, here is what I understand, if you
 20 told me on numerous times today in response            20 have an understanding. That way I carl.
 21 to questions you had little or no                      21 distinguish between what you are deferring to
 22 involvement.                                           22 the lawyers and what you may actually lmow,
 23 A. Sure.                                               23 because that's really all I fin asking for.
 24 Q. Is there anything about your                        24 A. No problem at all.                                  I!,
 25 involvement that you have not told me about            25 Q. I don't want you to go outside of your               !




                                                      75                                                        77
  1                E. TlUmp                                1             E. Trump
  2   today as it relates to Trump Tower Tfinpa?           2 comfort zone and give me a legal opinion.
  3   A. Absolutely not. I am sure the exact               3 But if there is some understanding you have
  4   thing I responded to this e.;.mail, if I even        4    that's factual I want to know that.                  I~
  5   did, was that I would have no docunients, and         5   A. I think Ijust did that. That's                    H
  6   I really have no knowledge of anything going          6   really my understanding.                             ~

  7   on. So, no. In tenns of anything redacted,            7   Q. Where the questions are coming from               '~
  8   no, that's not the case.                              8   about payment is this: For instance, in the
  9   Q. A couple of follow-up questions, then              9   Tampa case it is the only licensing agreement
 10   I think we will be done.                             10   I have actually seen.
 11   A. Sure.                                             11   A. Sure.
 12   Q. When The TlUinp Organization does a               12   Q. I have asked a number of questions
 13   license agreement, the actual licensor, based        13   about other licensing deals. I have no
 14   on everything I have lefined to date in this         14   reason to believe, based on the answers, that
 15   case, is your dad individually because he            15   your dad individually is not the licensor in
 16   owns the trade name and service mfi"k and            16   all of these other licensing agreements.
 17   trademarks.                                          17        Taking that as a background, my
 18        Is that consistent with your                    18   assumption would be this: Because he is the
 19   understanding?                                       19   licensor, Donald J. TlUmp individually, when
 20   A. I would want you to actually speak to             20   the licensee pays they are paying Donald J.
 21   lawyers about that, on the actual person who         21   Trump individually, not the Donald Trump
 22   owns it, whether it be an entity or not.             22   Organization.
                                                                                                                      if
 23   Listen, if he sits at the top of an                  23   A. Really, that's an accounting question.             !\
 24   organization we all report to him, so                24   I am sure we could fmd out the answer for
 25   presumably he~s the boss in our organization.        25   you. I don't know exactly where that money

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                                                               78                                                        80 ::
   1                        E.Trump                                  1                 E.Trump
   2           is getting -- flowing into and how it is              2       anything else.
  13           being distributed ina company. That's not             3             MR. GRIFFIN: We have no                     ••

   4           my day-to-day. That's really an accounting            4       questions and we will read and sign,
   5           function and if I could answer that question,         5       if it is transcribed.
   6           I would, but I just don't know, to tell you           6             MR. TURKEL: Are you waiving
   7           the truth.                                            7       the instruction?
   8           Q. Who would know that? Who would be the              8             MR. GRIFFIN: Yes.
   9           person to talk to?                                    9             MR. TURKEL: You are done.                  L'
  10           A. Probably our CFO.                                 10             THE WITNESS: I appreciate it.
                                                                                                                               "
  11           Q. That is Alan Weissberg?                           11       Thank you very much. Thank you. I
  12           A. Alan Weissberg.                                   12       appreciate your time.
  13           Q. Equally, just to tie up the general               13             THE VIDEOGRAPHER: It is 11 :39
  14           operations of the company, all of the duties         14       a.m. on February 9th, 2007. This                 I'
  15           you have described that The Trump                    15       completes the videotaped deposition of
  16           Organization provides in a licensing                 16       J\1r. Eric Trump.
  17           agreement, the review of plans, input into           17             (Time noted: 11:39 a.m.)
  18           marketing promotional materials, we have             18
  19           spoken about a number of different duties.           19                                                        I:
  20           A. Yes.                                              20                   ERIC TRUMP                           I:
  21           Q. Your father sits at the top of all of             21   Subscribed and sworn to before                       Ii,'
  22           those decisions, correct?                            22   me this day of      ,2011.                           1"


  23           A. Absolutely.                                       23
  24           Q. Eventually whatever recommendation is             24       Notary Public
  25           made by an operational executive vice                25

                                                               79                                                        81
                                                                                                                                "

   1               E. Trump                                         1           E. Trump
   2  president, your dad has to sign-off on,                       2         ' EXHIBITS
   3  right?                                                        3 PLAINTIFF'S
   4  A. I think he employs very confident                               FOR IDENTIFICATION       DESCRIPTION       PAGE
   5  people who hopefully will do a nice job. And                  4                                                         I
   6  yes, at the end of the day he sits at the top                 5 10       March 23, 2007 e-mail      63
   7  of that pyramid and the buck stops with him.                  6
   8  He employs confident people to hopefully make                 7                                                          :t

   9  the right decisions and oversee certain                       8
  10  elements like construction that you just                      9                                                          :.:
                                                                    10
  11  mentioned and make sure we have a great'
                                                                    11
  12  product.
                                                                    12
  13  Q. I think what I am getting at                               13
  14  ultimately is this: It is not that I meant                                                                               ::
                                                                    14
  15  to imply he doesn't employ competent people,                  15
  16  but as the president of Trump Organization he                 16
  17  is not detached from all of these various                     17
  18  deals, right?                                                 18
  19  A. No. He certainly oversees the deals                        19
  20  within his corporations. He certainly                         20
  21  oversees him.                                                 21
  22  Q. Ultimate authority vests in him,                           22
   ~3 correct?                                                      23
-'24 A. Ultimate authority vests in him.                            24
  25            MR. TURKEL: I don't have                            25
       ,   ,
               -            -      "   '                                                                                      ~




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                                                           82
  1                 E. Tnunp
  2             CERTIFICATE
  3          I, LORI CERRANO, hereby certify that the
  4    VIDEOTAPED DEPOSITION of ERIC TRUMP was held before
  5    me on the 9th day of FebrualY, 2011; that said
  6    witness was duly swom before the commencement of
  7    the testimony; that the testimony was taken
  8    stenographically by myself and then transcribed by
  9    myself; that the party was represented by cOl.U1sel as
 10    appears herein;
 11          That the within transcIipt is a true record
 12    of the VIDEOTAPED DEPOSITION of said witness;
 13          That I am not cOlmected by blood or marriage
 14    with any of the parties; that I am not interested
                                                                                             I,
 15    directly or indirectly in the outcome ofthis
 16    matter; tllat I am not in the employ of any of the
 17    counsel.
 18         IN WITNESS WHEREOF, I have hereunto set my                                       I:
 19    hand this         day of        , 20 II.
 20
 21                                                                                          I:
                          LORI CERRANO                                                       Ii
 22
 23
 24
 25


                                                           83
  1           E. Trump
  2              ERRATA SHEET
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